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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE                          §
COMMISSION,                                      §
                                                 §
       Plaintiff,                                §
                                                 §
       vs.                                       §
                                                 §
MAURICIO CHAVEZ, GIORGIO                         §         CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,                     §
                                                 §         JUDGE ANDREW S. HANEN
       Defendants.                               §
                                                 §
CBT Group, LLC,                                  §
                                                 §
       Relief Defendant.                         §


   [PROPOSED] ORDER APPROVING RECEIVER’S UNOPPOSED MOTION FOR
           APPROVAL OF PRIVATE SALE OF REAL PROPERTY

       On November 3, 2023, John Lewis, Jr., the court-appointed Receiver for Mauricio Chavez,

Giorgio Benvenuto, and CryptoFX, LLC, Defendants, and CBT Group, LLC, Relief Defendant,

and their assets, filed an unopposed Motion for Approval of Private Sale of Real Property

(“Motion”) located at S432500 Clear Creek Development Lot 1 Acres 25.132, Hempstead, Texas

77445 (“Subject Property”).

       Having considered the Receiver’s Motion and all exhibits in support thereof, as well as

previous pleadings filed by the Receiver, the Court finds that the Subject Property is part of the

Receivership Estate. The Court further finds that the Receiver has complied with all requirements

necessary for the sale of the subject property. Therefore, the Receiver’s Motion is hereby

GRANTED.
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       Accordingly, IT IS HEREBY ORDERED that the Court approves the sale of the Subject

Property as described in the Receiver’s Motion.

       IT IS SO ORDERED this ____ day of _________________, 2023.




                                                  JUDGE ANDREW S. HANEN
                                                  UNITED STATES DISTRICT JUDGE




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